Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 1 of 70 PAGEID #: 413




                                                               A
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 2 of 70 PAGEID #: 414
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 3 of 70 PAGEID #: 415
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 4 of 70 PAGEID #: 416
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 5 of 70 PAGEID #: 417
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 6 of 70 PAGEID #: 418
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 7 of 70 PAGEID #: 419
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 8 of 70 PAGEID #: 420
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 9 of 70 PAGEID #: 421
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 10 of 70 PAGEID #: 422
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 11 of 70 PAGEID #: 423
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 12 of 70 PAGEID #: 424
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 13 of 70 PAGEID #: 425
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 14 of 70 PAGEID #: 426
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 15 of 70 PAGEID #: 427
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 16 of 70 PAGEID #: 428
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 17 of 70 PAGEID #: 429
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 18 of 70 PAGEID #: 430
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 19 of 70 PAGEID #: 431
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 20 of 70 PAGEID #: 432
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 21 of 70 PAGEID #: 433
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 22 of 70 PAGEID #: 434
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 23 of 70 PAGEID #: 435
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 24 of 70 PAGEID #: 436
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 25 of 70 PAGEID #: 437
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 26 of 70 PAGEID #: 438
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 27 of 70 PAGEID #: 439
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 28 of 70 PAGEID #: 440
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 29 of 70 PAGEID #: 441
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 30 of 70 PAGEID #: 442
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 31 of 70 PAGEID #: 443
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 32 of 70 PAGEID #: 444
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 33 of 70 PAGEID #: 445
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 34 of 70 PAGEID #: 446
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 35 of 70 PAGEID #: 447
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 36 of 70 PAGEID #: 448
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 37 of 70 PAGEID #: 449
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 38 of 70 PAGEID #: 450
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 39 of 70 PAGEID #: 451
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 40 of 70 PAGEID #: 452
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 41 of 70 PAGEID #: 453
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 42 of 70 PAGEID #: 454
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 43 of 70 PAGEID #: 455
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 44 of 70 PAGEID #: 456
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 45 of 70 PAGEID #: 457
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 46 of 70 PAGEID #: 458
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 47 of 70 PAGEID #: 459
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 48 of 70 PAGEID #: 460
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 49 of 70 PAGEID #: 461
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 50 of 70 PAGEID #: 462
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 51 of 70 PAGEID #: 463
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 52 of 70 PAGEID #: 464
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 53 of 70 PAGEID #: 465
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 54 of 70 PAGEID #: 466
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 55 of 70 PAGEID #: 467
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 56 of 70 PAGEID #: 468
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 57 of 70 PAGEID #: 469
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 58 of 70 PAGEID #: 470
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 59 of 70 PAGEID #: 471
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 60 of 70 PAGEID #: 472
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 61 of 70 PAGEID #: 473
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 62 of 70 PAGEID #: 474
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 63 of 70 PAGEID #: 475
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 64 of 70 PAGEID #: 476
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 65 of 70 PAGEID #: 477
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 66 of 70 PAGEID #: 478
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 67 of 70 PAGEID #: 479
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 68 of 70 PAGEID #: 480
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 69 of 70 PAGEID #: 481
Case: 1:16-cv-00315-SJD Doc #: 2 Filed: 02/17/16 Page: 70 of 70 PAGEID #: 482
